      Case 9:19-cv-00140-DLC-KLD Document 34 Filed 11/09/20 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

                                                       CV 19-140-M-DLC-KLD
 JERRY O’NEIL,

                       Plaintiff,
                                                   ORDER
        vs.

 CHIP WEBER, in his capacity as Forest
 Supervisor for the Flathead National
 Forest; and the UNITED STATES
 FOREST SERVICE, a federal agency,

                      Defendants.




       Plaintiff Jerry O’Neil has filed a motion for an extension of time to file the
case management plan currently due on November 10, 2020. (Doc. 32). Plaintiff
asks the Court to continue the deadline to January 15, 2021. Defendants do not
oppose Plaintiff’s motion. (Doc. 33). Accordingly,

      IT IS ORDERED:

       1. Rule 26(f) Conference and Case Management Plan. A Case
Management Plan shall be filed on or before January 15, 2021. Lead trial counsel
for the respective parties, and any party appearing pro se, shall, at least two weeks
before the Case Management Plan is due, meet to discuss the nature and basis of
their claims and defenses and the possibilities for a prompt settlement or resolution
of the case and to develop a proposed case management plan. The case
management plan resulting from the Rule 26(f) conference is not subject to
revision absent compelling reasons.
                                           1
      Case 9:19-cv-00140-DLC-KLD Document 34 Filed 11/09/20 Page 2 of 3




      3. Contents of Case Management Plan. The Case Management Plan shall
contain deadlines for the following pretrial motions and events or shall state that
such deadlines are not necessary:


      Motions to Dismiss (fully briefed)
      Certification of Administrative Record
      Motions to Supplement the Administrative Record
      Motions to Amend the Pleadings
      Completion of Discovery
      Motions for Summary Judgment (fully briefed)
      Additional Deadlines Agreed to by the Parties

‟Fully briefed” means that the motion, the brief in support of the motion, and the
opposing party’s response brief are filed with the court by the deadline.

       4. Representation at Rule 26(f) Conference. Each party to the case must
be represented at the Rule 26(f) conference by at least one person with authority to
enter into stipulations.

      5. Stipulation to Foundation and Authenticity. Pursuant to Rule
16(c)(3), the parties shall either:
      (a) enter into the following stipulation:
              The parties stipulate as to foundation and authenticity for all written
              documents produced in pre-trial disclosure and during the course of
              discovery. However, if receiving counsel objects to either the
              foundation or the authenticity of a particular document, then receiving
              counsel must make specific objection to producing counsel in writing
              within a reasonable time after receiving the document. A ‟reasonable”
              time means that producing counsel has sufficient time to lay the
              foundation or establish authenticity through depositions or other
              discovery. If the producing party objects to a document’s foundation
              or authenticity, the producing party shall so state, in writing, at the
              time of production, in sufficient time for receiving counsel to lay the
              foundation or establish authenticity through depositions or other
              discovery. All other objections are reserved.
or,


                                          2
     Case 9:19-cv-00140-DLC-KLD Document 34 Filed 11/09/20 Page 3 of 3



      (b) state why a stipulation to authenticity and foundation is not appropriate
      for the case.

       6. Administrative Record: If an administrative record is involved, it must
be filed in an indexed and searchable electronic format on CDs. The government
shall provide Plaintiff with the administrative record CDs on or before the
administrative record filing deadline set out in ¶ 3, supra. The government must
also file with the Court ONE hard copy of the following documents (along
with any attachments or appendices) to the extent any such documents are at
issue in the case:

      Final Environmental Impact Statement
      Supplemental Environmental Impact Statement
      Record of Decision or Decision Notice
      Forest Plan or other programmatic planning document
      Biological Assessment
      Biological Opinion
      Finding of No Significant Impact
      Final Listing/Delisting Rule

       7. Briefs: In addition to the requirements of L.R. 10.3, any briefs filed in
this matter with any references to the administrative record must also be
submitted to the Court on a CD or DVD and include active hyperlinks to all
citations, including but not limited to the administrative record, statutes, case
law, and regulations. Citations to statutes, case law, and regulations should
link to Westlaw or Lexis Nexis. A party required to file a brief prior to
certification of the administrative record is relieved from the requirement that it
provide hyperlinks to administrative record citations, but must comply with this
paragraph in all other respects.

      8. In all documents filed with the Court, the parties shall not use any
acronyms except for the following commonly understood acronyms in record
review cases: NEPA, NFMA, APA, ESA, USFS, FWS and EIS.

            DATED this 9th day of November, 2020.

                                       _____________________________
                                       Kathleen L. DeSoto
                                       United States Magistrate Judge

                                         3
